Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2391 Filed 06/17/25 Page 1 of 21




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 UNITED STATES OF AMERICA

                  Plaintiff,              Case No. 22-20074

 -v-                                      Hon. Nancy G. Edmunds

 D-7 TAMARIOUS FAULKNER,

                  Defendant.
                                          /

          GOVERNMENT’S SENTENCING MEMORANDUM

       Tamarious Faulkner, “Poogi,” is the leader of the “Thorough Bread

 Family” (TBF) street gang in Jackson, Michigan. Under his supervision

 and direction, the members of the gang sold a unique “rocked-up” form

 of fentanyl known as “Poogi Dope.” This “Poogi Dope” had a reputation

 for being particularly potent. Law enforcement in Jackson attribute

 numerous fatal and non-fatal overdoses to “Poogi Dope.”

       With Tamarious Faulkner at the helm, members of the gang

 frequently carried firearms and used them against rival gangs. Even

 after he moved to Texas, Tamarious Faulkner still controlled the day-to-

 day operations of the gang, and returned to Jackson regularly to

 manage the drug distribution network.
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2392 Filed 06/17/25 Page 2 of 21




       Tamarious Faulkner himself described TBF’s place in the Jackson

 community when he posted to Facebook:




       The Jackson community suffered greatly under Tamarious

 Faulkner and TBF’s reign. After ATF and local enforcement

 collaborated to arrest and prosecute Tamarious Faulkner and numerous

 members of TBF, including his co-defendants here, violent crime and

 overdoses in Jackson dropped significantly.

       For his role as the leader of this gang that wreaked havoc and

 destroyed communities and countless lives in Jackson, Michigan,

 Tamarious Faulkner deserves a sentence of 268 months in prison. Such

 a sentence is necessary to protect the public from Tamarious Faulkner,

 is just punishment for his offense, and will deter him and other

 members of TBF from returning to this criminal behavior.

                                      -2-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2393 Filed 06/17/25 Page 3 of 21




 I.    STATEMENT OF FACTS

       A.    Thorough Bread Family Drug Conspiracy

       The Thorough Bread Family “TBF” street gang was founded by

 Tamarious Faulkner in Jackson, Michigan. The ATF and other law

 enforcement agencies have been investigating TBF since at least 2019

 for burglaries from Federal Firearms Licensees, the distribution of

 narcotics, violent crime, and for distributing a particularly dangerous

 version of fentanyl in the form of “Poogi Dope”. Poogi Dope is a unique

 and highly potent type of hard, glass-like (or “rocked-up”) fentanyl with

 a distinctive coloring.

      Photo showing some of the fentanyl seized in this investigation:




                                      -3-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2394 Filed 06/17/25 Page 4 of 21




         As Tamarious Faulkner and TBF grew in prominence and

 numbers in Jackson, so did fentanyl overdoses and violence. (See

 Exhibit 1 – Letter from Christopher A. Simpson, Chief of Police,

 Jackson). Those overdoses destroyed and took many lives, including the

 life of G.S., whose mother, J.D. wrote a letter to this Court detailing the

 harm TBF and Tamarious Faulkner caused not just her and her

 daughter, but the entire community. (See Exhibit 2 – Letter from J.D.,

 mother of G.S.). Multiple TBF members have been convicted of drug

 offenses in state court connected to fatal overdoses tied to “Poogi Dope,”

 including two of Tamarious Faulkner’s brothers, Zaire Faulkner and

 Tirique Faulkner, whose convictions predated the conspiracy charged

 here.

         As a result of the violence and overdoses attributed to TBF, ATF

 and other law enforcement began investigating TBF, including by

 making undercover purchases of fentanyl from TBF members from 2019

 through 2022, and eventually by obtaining wiretap orders for phones

 used by Tamarious Faulkner and other high-ranking members of the

 gang, co-defendant Demond Johns and Dominque Faulkner.




                                      -4-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2395 Filed 06/17/25 Page 5 of 21




       Consistently, those recorded calls showed that Tamarious

 Faulkner was not just a figurehead for the gang and not just the

 namesake for its signature product, but that he was also deeply

 involved in its daily operations. Whenever a TBF member had legal

 trouble, everyone’s first call was to Tamarious. If a TBF member had an

 issue with another member stealing some of their customers, they

 called Tamarious. He may have been living in Houston where he kept

 all of his profits in his home with his children and guns, but he was still

 running the business. A select few examples are detailed below.

 Tamarious Faulkner’s conduct is detailed even further in the

 Presentence Report at ¶¶12–32, as well as in prior filings in this court.

 (See ECF No. 120, PageID.507–551, Response to Tamarious Faulkner’s

 motion to revoke order of detention; ECF No. 122, PageID.553–558,

 Order denying motion to revoke order of detention; ECF No. 245,

 PageID.1547–1600, Response to Brittany Bartkowiak’s motion to

 suppress).

       Tamarious Faulkner comes to Jackson to prepare drugs for
       distribution

       While Tamarious Faulkner spent a lot of time in Houston, he

 returned to Jackson regularly on business trips. For example, ATF


                                      -5-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2396 Filed 06/17/25 Page 6 of 21




 agents identified a stash house used by Tamarious Faulkner and

 Dominque Faulkner on 3rd Street in Jackson and setup a camera for

 long term surveillance. Co-defendant Heather Dolan lived at that

 house; however, Tamarious Faulkner was seen going to the residence

 and entering through the front door with a key. Heather Dolan herself

 was addicted to “Poogi Dope,” and undoubtedly one more person taken

 advantage of by Tamarious Faulkner when he used her home as his

 stash house.

      On December 13, 2021, Tamarious Faulkner contacted Dolan:




       Tamarious Faulkner then discussed his call with Dolan with his

 brother, Dominque Faulkner. Dominque explains he gave Dolan, “what




                                      -6-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2397 Filed 06/17/25 Page 7 of 21




 I had,” and Tamarious Faulkner laments about Dolan knowing “shit,”

 i.e., his business dealings and plans to travel to Jackson.




       Tamarious Faulkner was not flying from Houston to Jackson to

 “bake cookies.” He was, however, heading to Jackson to cook “Poogi

 Dope.” And, given its unique formula, and based on other wiretap calls,

 only a select few know how to prepare it properly, including Tamarious

 Faulkner.

       On December 15, 2021, two days later, Tamarious Faulkner flew

 to Jackson. Dominque Faulkner picked him up at the airport and took


                                      -7-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2398 Filed 06/17/25 Page 8 of 21




 him to an apartment on Roxbury. Dominque Faulkner told Tamarious

 Faulkner that he didn’t have any fentanyl ready to sell, “I ain’t got

 none.” Tamarious responded, “Alright, well, I’m baking.”

       Tamarious Faulkner takes care of TBF members when they get
       arrested, and provides protection for them in custody.

       On January 7, 2022, ATF Agents raided TBF member Demarious

 Cockream’s residence. Cockream was separately prosecuted and

 received a 10-year prison term for the fentanyl (including “Poogi Dope”)

 found at his house. (E.D. Mich. Case 22-cr-20035). Shortly after the

 raid, Tamarious Faulkner spoke to another TBF member. They

 discussed what evidence was found. The other TBF member tells

 Tamarious Faulkner that “When he call you though, tell that n***a call

 me, man.” Tamarious Faulkner responds, “Shit, he ain’t calling me. I

 know that much. . . . Man, cause all my n***as know, bro. When y’all

 get locked up. . . . I’ll help out with whatever y’all need, lawyers–

 whatever but n***a, I don’t want talk on that phone.”

       Similarly, in December 2021, Tamarious Faulkner spoke to the

 mother of another TBF member that was recently arrested. Tamarious

 Faulkner reassured the mother that the TBF member would be

 protected while in prison by other TBF members and people that


                                      -8-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2399 Filed 06/17/25 Page 9 of 21




 Tamarious Faulkner had in prison looking out for him. Tamarious

 Faulkner said he wanted to help out more directly, but was afraid of

 getting too involved, because he believed the police were watching him.

       Tamarious Faulkner orders TBF members to give Brittany
       Bartkowiak a gun.

       In November 2021, co-defendants Zaire Faulker and Demond

 Johns spoke on the phone about a gun that was to be given to co-

 defendant Brittany Bartkowiak. Zaire Faulkner asked Demond Johns

 whether he wanted to give the gun to Brittany Bartkowiak. Demond

 Johns asked, “The gun?” In response, Zaire Faulkner told Demond

 Johns, “Yeah, the one Poogi was giving her.” Further calls and

 conversations showed Demond Johns and Brittany Bartkowiak

 arranged to meet up, and Demond Johns gave her the gun on Poogi’s

 behalf. Bartkowiak was stopped a short time later and the gun found

 under the front seat of her car. She has since pled guilty to possessing

 that gun as a convicted felon.

       Tamarious Faulkner’s arrest and search warrants

       On February 28, 2022, ATF agents arrested Tamarious Faulkner

 at the Detroit Airport as he prepared to return to Houston. He has keys

 with him, including a key that opened the padlock to the locked room at


                                      -9-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2400 Filed 06/17/25 Page 10 of 21




 Heather Dolan’s house. The next day, agents raided several locations in

 Jackson and Lansing. Several co-conspirators were arrested. Agents

 recovered firearms from multiple TBF members and recovered fentanyl

 from multiple locations.

       At Dominque Faulkner’s residence in Lansing, agents found gang

 paraphernalia, a money counter, a firearm box, firearm magazines, and

 multiple cell phones. Around 20 grams of “Poogi Dope” was found in his

 car and another firearm magazine. Dominque Faulkner wore a lanyard

 with the keys to Heather Dolan’s house and the locked room inside.

       At Heather Dolan’s 3rd Street residence, agents found a room

 locked with a padlock. Inside that room, agents found approximately 90

 grams of fentanyl, consistent with “Poogi Dope,” scales, a hydraulic

 press, a vacuum sealer, and a blender, all used to prepare fentanyl for

 distribution. Heather Dolan did not have a key to the padlock to the

 room. But Tamarious Faulkner and Dominque Faulkner did.

       At the Roxbury apartment, where Tamarious Faulkner was

 “baking cookies” in December, agents found a locked safe. Inside the

 safe, agents found 4 handguns (2 of which were stolen, 1 from an FFL

 burglary in the fall of 2021), and approximately 1,000 grams of



                                     -10-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2401 Filed 06/17/25 Page 11 of 21




 fentanyl. Dominque Faulkner’s lanyard he wore had a key to the locked

 safe.

         At Tamarious Faulkner’s residence in Houston, agents pulled over

 his girlfriend after she dropped her children off at school. She told

 agents she had two guns in the house, and identified a handgun found

 in the car with her (Ruger Model 57 pistol, SN: 641-58671), and another

 handgun that was in her bedroom closet on the shelf “inside a box.”

 Inside the residence, agents found more guns and other evidence,

 including:

         • Glock Model .44 pistol, SN AEMA554 (master bedroom closet
           shelf)

         • Cobra CB9 handgun, SN CT201200 (inside a Ruger box on the
           master bedroom closet shelf, possibly the second firearm
           referenced by his girlfriend)

         • Glock Model 48 9mm pistol, SN BMMK647 (master bedroom
           dresser drawer)

         • Rom Arm Micro Draco pistol, SN: PMD-22730-20 (left side
           drawer of bed in master bedroom)

         • American Tactical Mil Sport Multi Cal firearm, SN:
           MSA045381, loaded with one magazine and one round in the
           chamber (master bedroom closet)

         • Assorted firearm magazines and ammunition

         • A money counter


                                     -11-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2402 Filed 06/17/25 Page 12 of 21




       Through ATF’s investigation, numerous incriminating

 conversations were recorded among the gang members and co-

 conspirators regarding the distribution of narcotics and the possession

 of firearms. ATF executed several search warrants and seized large

 amounts of fentanyl and several firearms during the investigation. As

 leader of TBF, and the fentanyl drug conspiracy, all the conduct and

 criminal activity of all the TBF members during the conspiracy is on

 Tamarious Faulkner’s shoulders, and he should be held accountable for

 it.

       Tamarious Faulkner and TBF played such a key role in driving

 violence and overdoses and crime in Jackson during this time, that the

 Chief of Police noted a nearly immediate and substantial drop in

 violence and overdoses after Tamarious Faulkner and his fellow TBF

 members were taken and held in custody. (Exhibit 1 – Letter from Chief

 of Police). This is not mere coincidence. While the Jackson community

 has started to heal, and still faces many challenges, protecting the

 future well-being of Jackson requires a lengthy term of incarceration for

 Tamarious Faulkner.




                                     -12-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2403 Filed 06/17/25 Page 13 of 21




 II.   ADVISORY GUIDELINE RANGE

       The United States Probation Department calculated Tamarious

 Faulkner’s guideline range as 210 to 262 months, based upon a total

 offense level of 35 and criminal history category of III.

       The government agrees with this guideline calculation; however,

 Tamarious Faulkner has objected to the 2-level enhancement for

 firearms being possessed under USSG § 2D1.1(b)(1), and to his criminal

 history score calculation. There is ample evidence that Tamarious

 Faulkner and several of his co-conspirators possessed firearms as part

 of this conspiracy, and that their possession of those firearms was

 foreseeable to him. See United States v. Barron, 940 F.3d 903, 911-912

 (6th Cir. 2019). As to his criminal history score, the Probation

 Department correctly scored his history. Even were his conviction for

 use of marijuana in 2014 not scored, he would still fall under criminal

 history Category III with 4 points remaining. The Court should overrule

 his objections and adopt the Presentence Report as written.

       A.    The firearm enhancement under USSG § 2D1.1(b)(1) should
             be applied.

       Tamarious Faulkner pled guilty to a fentanyl trafficking

 conspiracy involving at least 1,200 grams of fentanyl over a 9-month


                                     -13-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2404 Filed 06/17/25 Page 14 of 21




 period. Several of his co-conspirators possessed large quantities of

 fentanyl during the conspiracy, and many of them, including Tamarious

 Faulkner himself, possessed firearms, including firearms kept in the

 same location as large quantities of fentanyl.

       The firearm enhancement should apply here based upon

 Faulkner’s actual possession of firearms at his residence in Houston,

 Texas, where he used the firearms to protect the profits of this drug

 conspiracy (at least $320,000 over the 9 month period, as he agreed to

 in the forfeiture money judgment in his plea, See ECF No. 323,

 PageID.2161–2165, Plea Agreement), and because his co-conspirators’

 possession of firearms was reasonably foreseeable to him (and he had

 actual knowledge of their possession of firearms).

       The guidelines provide for a 2-level enhancement under USSG

 § 2D1.1(b)(1) when “a dangerous weapon (including a firearm) was

 possessed.” This includes actual possession by the defendant. In a

 conspiracy, “possession of a gun by one coconspirator is attributable to

 another coconspirator if such possession constitutes reasonably

 foreseeable conduct.” Barron, 940 F.3d at 911-912. The Sixth Circuit

 requires, at a minimum, evidence that the defendant either knew a



                                     -14-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2405 Filed 06/17/25 Page 15 of 21




 weapon was present, or “knew it was reasonably probable that his

 coconspirators would be armed.” Id. at 912. However, for cases involving

 large quantities of drugs in one location, the Sixth Circuit has found a

 coconspirator’s possession of a firearm to be reasonably foreseeable on

 that basis alone. Id. Citing United States v. Wade, 318 F.3d 698, 702

 (6th Cir. 2003).

       Judge Stephen J. Murphy, III, who sentenced most of Tamarious

 Faulkner’s co-defendants, applied the firearm enhancement under

 USSG § 2D1.1(b)(1) to nearly all of his co-conspirators who he led,

 including Dominque Faulker, Demond Johns, Tommy Owens, Zaire

 Faulkner, and Mario Murguia. As leader of the conspiracy, responsible

 for and well aware of the conduct of those who answered to him,

 Tamarious Faulkner surely should be held similarly accountable for the

 possession of firearms.

 III. Law and Argument

       A.    Nature and circumstances of the offense; 18 U.S.C. §
             3553(a)(1)

       For years, local, state, and federal law enforcement in and around

 Jackson, Michigan, made numerous arrests that involved a unique drug

 containing fentanyl. The substance was a hard, cloudy, glass like


                                     -15-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2406 Filed 06/17/25 Page 16 of 21




 substance with a tint of color. On the street, the drug was nicknamed

 “Poogi Dope.” “Poogi” is the street name for Tamarious Faulkner, the

 leader of a violent street gang in Jackson named TBF. As part of his

 plea, Tamarious Faulkner admitted to being the leader of the drug

 conspiracy ran by TBF. And as noted by the Chief of Police, TBF was

 not only selling deadly fentanyl in Jackson, TBF was also linked to

 numerous violence acts, including shootings and homicide. (See Exhibit

 1 – Letter from Christopher A. Simpson, Chief of Police, Jackson).

       “Poogi Dope” had a reputation as a highly potent drug. As a result,

 it was in high demand in Jackson and the surrounding areas. Law

 enforcement believes “Poogi Dope” was the cause of numerous overdoses

 and overdoses causing death, including the death of G.S., and many

 others. (See Exhibit 2, Letter from J.P., her mother). Her story

 exemplifies the seriousness of Tamarious Faulkner’s conduct here.

       Tamarious Faulkner’s role of coordinating the other members’

 business, taking care of members when they get in trouble, and

 generally overseeing all of TBF business is what enabled the gang to be

 so successful at selling fentanyl in Jackson and is what enabled the




                                     -16-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2407 Filed 06/17/25 Page 17 of 21




 gang to cause so much harm to the community. His conviction and

 sentence here ought to hold him accountable for that harm.

       B.    History and characteristics of the defendant; 18 U.S.C.
             §3553(a)(1)

       Tamarious Faulkner’s history and characteristics include several

 prior convictions, and a history of doing poorly on supervision and

 HYTA probation. While he does not have any serious prior convictions,

 he does have a prior weapons arrest. This lack of significant history is

 unsurprising. Tamarious Faulkner was not a foot soldier in TBF, but its

 leader, calling the shots from Houston. This role which mostly insulated

 him from the risk of law enforcement encounters and criminal

 responsibility. Not until the ATF was able to wiretap his phone, was

 there enough evidence to prove his role and hold him responsible for all

 the harm he has caused as leader of TBF. Despite that, Tamarious

 Faulkner still does not have an unblemished history.

       C.    The sentence must reflect the seriousness of the offense,
             promote respect for the law, and provide just punishment; 18
             U.S.C. § 3553(a)(2)(A)


       Tamarious Faulkner’s leadership of this conspiracy caused

 significant harm to the Jackson community. The ATF and law

 enforcement in Jackson County believe that Poogi Dope, this highly

                                     -17-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2408 Filed 06/17/25 Page 18 of 21




 sought after drug, was connected to an inordinate number of overdoses

 and overdoses causing deaths. Authorities in the Jackson area have

 connected dozens of deaths to Poogi Dope.

       Despite his claims to the contrary in his letter to the Court,

 Tamarious Faulkner was well aware of the potency of Poogi Dope and

 its dangers. The drug’s strength and unrelenting high were the

 characteristics that furthered its popularity. And two of his own

 brothers were convicted of offenses related to fatal overdoses involving

 Poogi Dope prior to this conspiracy. At the very time of the conspiracy

 charged here, Tirique Faulkner was already serving a state prison

 sentence for manslaughter in connection with Poogi Dope (and has since

 picked up a new federal drug case after his release on parole, E.D.Mich.

 Case 24-cr-20629). Another brother, and co-defendant here, Zaire

 Faulkner, served a state prison term for drug distribution related to a

 fatal overdose involving Poogi Dope.

       The attached letters from the Chief of Police of Jackson (Exhibit 1)

 and J.D., mother of fatal overdose victim, G.S., (Exhibit 2) truly

 exemplify the seriousness of Tamarious Faulkner’s conduct and

 underscore the harm he caused to the community. A sentence at the top



                                     -18-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2409 Filed 06/17/25 Page 19 of 21




 of the guideline range here would be just punishment and truly reflect

 the seriousness of his offense.

       D.    The sentence must afford adequate deterrence to criminal
             conduct and protect the public; 18 U.S.C. §§ 3553(a)(2)(B)
             and(C)

       A lengthy sentence for Tamarious Faulkner will serve to protect

 the public. His conduct here, particularly his leadership role in this

 gang that wreaked so much harm on the Jackson community is such

 that he is very likely to reoffend. This is not an aberration in behavior.

 Despite his claims in his letter to the Court, the evidence shows he has

 had not had some great awakening and suddenly realized how deadly

 and dangerous fentanyl is and realized the error of his ways. That he

 was able to get his brother, and co-defendant Dominque Faulkner to

 write a letter to the Court claiming he’s not even the leader of the gang

 shows how unserious his purported contriteness really is.

       Fentanyl, Poogi Dope’s main ingredient, is responsible for “two-

 thirds of all overdose deaths . . . .”1. “Nearly 70,000 people in the U.S.




 1Deidre McPhillips, New Report Details the Deadly Rise of Fentanyl in
 the US, CNN, May 3, 2023,
 https://www.cnn.com/2023/05/03/health/fentanyl-overdose-cdc-
 report/index.html.

                                     -19-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2410 Filed 06/17/25 Page 20 of 21




 died of drug overdoses that involved fentanyl in 2021, almost a four-fold

 increase over five years.” Id. Tamarious Faulkner, in role as leader of

 TBF, the primary distributor of a dangerous and potent form of fentanyl

 is ultimately responsible for many such deaths in Jackson.

       A sentence of 268 months for Tamarious Faulkner will deter him

 and others like him from similar criminal conduct in the future, and it

 will protect the public.

 IV.   CONCLUSION

       For the reasons argued above, the government requests that this

 Honorable Court sentence Tamarious Faulkner to a term of

 incarceration of 268 months.

                                     Respectfully Submitted,

                                     JEROME F. GORGON JR.
                                     UNITED STATES ATTORNEY

                                     s/Andrew R. Picek
                                     Andrew R. Picek
                                     Matthew Roth
                                     Assistant United States Attorneys
                                     211 West Fort Street, Suite 2001
                                     Detroit, Michigan 48226
                                     313-226-9652
                                     andrew.picek@usdoj.gov

 Dated: June 17, 2025



                                     -20-
Case 2:22-cr-20074-NGE-KGA ECF No. 351, PageID.2411 Filed 06/17/25 Page 21 of 21




                       CERTIFICATE OF SERVICE

       I certify that on June 17, 2025, I electronically filed this motion for
 the United States with the Clerk of the United States District Court for
 the Eastern District of Michigan using the ECF system, which will send
 notification of such filing to all counsel of record.

                                     /s/ Andrew R. Picek
                                     Andrew R. Picek
                                     Assistant United States Attorney
                                     United States Attorney’s Office
                                     Eastern District of Michigan
                                     211 West Fort Street, Suite 2001
                                     Detroit, Michigan 48226
                                     (313) 226-9652
                                     andrew.picek@usdoj.gov




                                     -21-
